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   RJN 2 – Research Article: Timothy H. Fine, Misuse and Antitrust Defenses to
   Copyright Infringement Actions, 17 Hastings L.J. 315 (1965).
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Hastings Law Journal
Volume 17 | Issue 2                                                                                                                              Article 8



1-1965

Misuse and Antitrust Defenses to Copyright
Infringement Actions
Timothy H. Fine




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        Misuse and Antitrust Defenses to
             Copyright Infringement
                    Actions
                             By Tnm On           H. FnvE*

SHOULD a court of equity lend its aid to protect the copyright
owner's monopoly when he is using it to suppress competition in vio-
lation of the federal antitrust laws' or is otherwise misusing it?
    This question has not been answered by the United States Supreme
Court, even though it has been twenty-four years since the Court
enunciated the patent misuse doctrine in Morton Salt Co. v. G. S.
Suppiger Co., 2 wherein the Court held that a patentee who utilized
his patent to gain economic control over unpatented products would
be deied all relief against infringement of his patent. In light of later
Supreme Court decisions, 3 holding that a refusal by the copyright
owner to license one or more of his copyrighted products unless the
licensee accepted another copyrighted product is a violation of the
Sherman Anti-Trust Act, it appears that the doctrine of Morton Salt
is fully applicable to copyright infringement actions. However, two
other Court decisions. subsequent to Morton Salt, have upheld the
deial of the defense of antitrust violations in actions not involving
patent, trademark, or copyright infringements, and those decisions
have been relied upon by lower courts to deny the defense of antitrust
violations to a copyright infringement action.5
    Whether the patent misuse doctrine should be extended to cover
     * B.E.E., 1959, Umversity of Virgima; M.S.E.E., 1962, University of Southern
Califorma; LL.B., 1965, University of California, Berkeley; Law Clerk to U.S. District
Judge William T. Sweigert; Member, San Francisco Bar.
     1
       The Clayton Act § 1, 38 Stat. 730 (1914), 15 U.S.C. § 12 (1964) defines anti-
trust laws as: The Sherman Anti-Trust Act, 26 Stat. 209 (1890), 15 U.S.C. §§ 1-7
(1964); Wilson Tariff Act §§ 73-77, 28 Stat. 570 (1894), as amended, 15 U.S.C. §§ 8-
11 (1964); and the Clayton Act, 38 Stat. 730'(1914), as amended, 15 U.S.C. §§ 12, 13,
14-27 (1964).
     2314 U.S. 488 (1942).
     3 United States v. Loew's Inc., 371 U.S. 38 (1962); United States v. Paramount
Pictures, Inc., 334 U.S. 131 (1948).
     4Kely v. Kosuga, 358 U.S. 516 (1959); Bruce's Juices, Inc. v. American Can Co.,
330 U.S. 743 (1947).
     5
       Alfred Bell & Co. Ltd. v. Catalda Fine Arts, Inc., 74 F Supp. 973 (S.D.N.Y. 1947),
aff'd, 191 F.2d 99 (2d Cir. 1951). See also Peter Pan Fabrics, Inc. v. Candy Frocks, Inc.,
187 F. Supp. 334 (S.D.N.Y. 1960).
                                         [315]
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a copyright mfrmgement action or whether the less restricted bar of
"unclean hands"6 should continue to be the test, requires an under-
standing of both the patent misuse doctrine and the defense of anti-
trust violations m civil actions where infringement is not involved.
Then, upon examination of the public policy underlying the grant of
a copyright monopoly, it will be possible to make some determina-
tion as to whether the patent misuse doctrine should apply to a copy-
right infringement action.

                   The Patent Misuse Doctrine
    Prior to the Morton Salt Co. case, it was generally believed that
a violation of the antitrust laws by the patent owner in the use of
his patent was not a proper defense to an infringement action upon
that patent.7 The underlying rationale was aptly expressed: "There
is no law that one who restrains trade forfeits one's property to any
                                 8
person who chooses to take it."
    However, if the defendant charged with mfringement could show
that the plaintiff had come into court with unclean hands, the court
might deny plaintiff the relief he sought.9 In application, the doctrine
of unclean hands was very limited, particularly in cases where the
plaintiff was violating the antitrust laws in the use of his patent.io
The doctrine was applicable only in cases where the plaintiff's uncon-
scionable conduct was directly connected with the subject matter
of the suit." As stated by the Court in Keystone Driller Co. v. General
Excavator Co. :12
    But courts of equity do not make the quality of suitors the test.
    They apply the maxim requiring clean hands only where some un-
     6 "Itisone of the fundamental prnciples upon which equity jurisprudence is founded,
that before a complainant can have a standing m court he must first show that not only
has he a good and meritorious cause of action, but he must come mto court with dean
hands. He must be frank and fair with the court, nothing about the case under considera-
tion should be guarded, but everything that tends to a full and fair determination of the
matters m controversy should be placed before the court." STony, EQurry JunisPRuDENc
§ 98 (14th ed. 1918).
     72 WALrx , PATENTS § 409 (Deller ed. 1937).
     8Radio Corp. of America v. Hygrade Sylvania Corp., 10 F Supp. 879, 883 (D.N.J.
1934).
    9 Keystone Driller Co. v. General Excavator Co., 290 U.S. 240 (1933).
    1o See F.A.D. Andrea, Inc. v. Radio Corp. of America, 14 F Supp. 226 (D. Del.
1936); Radio Corp. of America v. Hygrade Sylvania Corp., 10 F. Supp. 879 (D.N.J.
1934); General Electric Co. v. Minneapolis Lamp Co., 10 F.2d 851 (D. Minn. 1924).
    11 See cases cited note 10 supra.
    32 290 U.S. 240, 245 (1933). As to the status of the doctrne today, see Gaudiosi v.
Mellon, 269 F.2d 873, 881-82 (3d Cir. 1959), cert. dened, 361 U.S. 902 (1959).
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    conscionable act of one coming for relief has immediate and neces-
    sary relation to the equity that he seeks in respect of the matter in
    litigation. They do not close their doors because of plaintiff's mis-
    conduct, whatever its character, but only for such violations of con-
    science as in some measure affect the equitable relations between the
    parties in respect of something brought before the court for adjudica-
    tion.
     In Morton Salt the Court sounded the death knell for the patentee's
double standard. No longer could the patent owner enter into various
unlawful agreements to restrain trade by the use of his patent and
at the same time expect the courts to enforce his patent rights against
infringers. In effect, the Court adopted a prophylactic rule to prevent
the patent owner from engaging in unlawful conduct with Ins patent.
     In Morton Salt the petitioner was manufacturing and leasing salt
depositing jnachmes which respondent claimed directly infringed its
patent. Respondent, on the other hand, leased its patented salt de-
positing machines under licenses which required the licensees to use
the respondents unpatented salt tablets with its machines. Pre-
viously, the Court had held that the patent owner could not bring
an infringment suit against a licensee who had violated a condition
of the license by using with the patented machine an unpatented
article.ia In 1931, the Court had held that it was an illegitimate ex-
tension of the patent monopoly for a patent owner to exclude others
from supplying unpatented materials for use M its patented inven-
       14
tion.
     In Morton Salt, however, petitioner was not being sued for sup-
plying the unpatented salt tablets, nor was petitioner one of respon-
dent's licensees. Petitioner was being sued for direct infringement
of respondent's patented salt depositing machine. In reversing, the
Court took notice of the unclean hands doctrine and respondents argu-
ment that the doctrine should not apply here because the wrongful
conduct was not a part of the subject matter between the parties. 1
While the decision mentioned the unclean hands doctrine, its real
basis was the nature of the right sought to be enforced. The Court
stated in answer to respondent's unclean hands argument: "[A]ddi-
tional considerations must be taken into account where maintenance
of the suit concerns the public interest as well as the private interests
of suitors."o
    13 Motion Picture Patents Co. v. Universal Film Mfg. Co., 243 U.S. 502 (1917).
    14 Carbice Corp. of America v. American Patents Dev. Corp., 283 U.S. 27 (1931).
    15 314 U.S. at 492-93.
    16 Id. at 493.
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     These additional considerations were: (1) "[T]he public policy
 which includes inventions within the granted monopoly excludes from
 it all that is not embraced in the invention."17 (2) Public policy "for-
 bids the use of the patent to secure an exclusive right or limited
 monopoly not granted by the Patent Office." 8s (3) "[T]he adverse
 effect upon the public interest of a successful infringement suit, in
 conjunction with the patentee's course of conduct          "19

     The particular nsuse which the Court found to justify the denial
of relief in Morton Salt was tying the patent monopoly to unpatented
products. While the Clayton Act prohibits tying clauses, 20 the Court
has preferred to rest its decisions holding that the owner of a patent
may not employ it to secure a limited monopoly of an unpatented
material used in applying the invention on the ground that this con-
stitutes an illegitimate extension of the patent monopoly granted to
                                                                       23
the inventor by the Constitution 2' and laws22 of the United States.
Thus, the concept of patent msuse relates to the unlawful expansion
of the patent monopoly, and while this may constitute antitrust viola-
tions, it is peculiarly a question of patent law
     The relevance of the patent misuse doctrine to the copyright
field is quite apparent. Both the grant to the inventor of a patent
monopoly and the grant to the author of a copyright monopoly are
special privileges designed to carry out the public policy adopted
by the Constitution and statutes of the United States. 24
     Throughout the Morton Salt opinion, reference is made to two
     17 Id.   at 492.
     18 Ibtd.
     39  Id. at 494.
      20 Clayton Act § 3, 38 Stat. 731 (1914), 15 U.S.C. § 14 (1964) condemns tying
clauses for the lease or sale of goods, wares, merchandise, machinery, supplies or other
commodities "whether patented or unpatented            " (Emphasis added.)
      21 U.S. CONST. art. I, § 8.
      22 Patent Act of 1952, ch. 950, 66 Stat. 792-814 (codified in scattered sections of
35 U.S.C.).
      23
         Motion Picture Patents Co. v. Universal Film Mfg., Co., 243 U.S. 502 (1917).
In the Court of Appeals, the ground for denying relief was that the license restriction
came within the -prohibition of the Clayton Act. Motion Picture Patents Co. v. Universal
Film Mfg. Co., 235 Fed. 398 (2d Cir. 1916). Accord, Carbice Corp. of America v.
American Patents Dev. Corp., 283 U.S. 27 (1931). Mercold Corp. v. Mid-Continent
Inv. Co., 320 U.S. 661 (1944) held that it was an unlawful expansion of the patent
monopoly to protect the unpatented part of a combination patent from competition.
     24
         Constitution and statutes cited notes 21 and 22 supra. But cf. Bobbs-Merrill Co.
v. Straus, 210 U.S. 339, 346 (1908)" "There are such wide differences between the right
of multiplying and vending copies of a production protected by the copyright statute and
the rights secured to an inventor under the patent statutes, that the cases which relate
to the one subject are not altogether controlling as to the other." (dictum).
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types of copyright cases: (1) cases where relief for copyright infringe-
ment was denied because of inequitable conduct on the part of plain-
tiff copyright owner 25 and (2) cases involving a use of the copyright
whch was held to be in restraint of trade and not within the protec-
tion of the copyright monopoly, but which did not involve an action
for copyright mfinngement. 8 With regard to the former, the Court
stated:
    Similarly equity will deny relief for infringement of a trademark
    where the plaintiff is misrepresenting to the public the nature of his
    product either by the trademark itself or by his label         see also,
    for application of the like doctrine in the case of copyright, Edward
    Thompson Co. v. American Law Book Co., 122 F 922, 926;            Stone
    & M'Carnck [Inc.] v. Dugan Piano Co., 220 F 837, 841-43.2 7
   In the Edward Thompson case,28 the plaintiff charged defendant
with infringement of its copyright on an encyclopedia. Defendant
denied that it had infringed and as an affirmative defense asserted
that plaintiff's editors in preparing the encyclopedia had pirated para-
graphs and syllabi from the copyrighted works of others. The court
held that defendant had not infringed plaintiff's copyright and, m
addition, stated: "But if it were piracy in one it was piracy in the
other and a literary pirate is not entitled to consideration in a court
of equity          An author who has pirated a large part of his work
from others is not entitled to have hIs copyright protected."2 9
    In Stone & M'Carrck the plaintiff sought to prevent infringe-
ment of the copyright on its book containing forms of advertising. The
defendant moved to dismiss on the ground that the advertisements
were not copyrightable under the law The court affirmed the dis-
missal of the action on the grounds that the book of advertising forms
was not copyrightable and that it was not entitled to the protection of a
court of equity On the latter point the court stated:
   But advertisements by dealers of their wares, in order to insure the
   protection of the law, should reflect the truth and avoid representa-
   tions which mislead and deceive the people. If their tendency be
   misleading and deceptive, they will find the doors of a court of equity
   barred against their admission. 31
    25 314 U.S. at 494.
    26 Id. at 491, 494.
    2 1d. at 494.
    28 122 Fed. 922 (2d Cir. 1903).
    29Id. at 926 (dictum).
    30220 Fed. 837 (5th Cir. 1915).
    31 Id. at 843.
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    Both of these cases involved the traditional unclean hands argu-
ment. The courts indicated that their doors were barred in light of
plaintiff's inequitable conduct. The idea that the condemned activity
was an unlawful extension of the copyright grant was neither men-
tioned nor intimated.
    As previously stated, the Court in Morton Salt cited a number of
copyright cases which involved various types of restraint of trade,
but which were not for infrmgement 2 of the copyright. In one cate-
gory of cases of trade restraint, commonly known as resale price
maintenance, the Court stated that the reason for barring the prosecu-
tion of respondent's suit for patent infringement is fundamentally the
same as that which precludes a suit
    against a vendee of a patented or copyrighted article for violation
    of a condition for the maintenance of resale pnces, Adams v. Burke,
   17 Wall. 453; Bobbs-Merrill Co. v. Straus, 210 U.S. 339; Bauer & Cie
   v. O'Donnell, 229 U.S. 1, Straus v. Victor Talking Machine Co., 243
   U.S. 490; Boston Store v. American Graphophone Co., 246   3
                                                               U.S. 8; cf.
   United States v. General Electric Co., 272 U.S. 476, 485.
   Since the decision of Dr Miles Medical Co. v. John D Park &
Sons Co.,3 4 contracts fixung resale prices of unpatented articles have
been held invalid under the Sherman Anti-Trust Act.35
   In Bobbs-Merrill Co. v. Straus,3 6 the Court held that the rights
granted a copyright owner do not include the right, after a sale of
the copyrighted book, to restrict the future price of the book by the
mere insertion in the book that a sale of the book different from that
specified would constitute an infringement of the copyright.3 7 In Straus
     32
        The Copyright Act, 61 Stat. 652-68 (1947), as amended (codified in scattered
sections of 17 U.S.C.) does not contain a definition of the term "infringement," and in
some cases the word is used to denote an action upon a violation of conditions under a
copyright license. However, as used herein, copyright mfingement is intended to mean
only the unauthorized copying of a copyrighted work. Nnvnm, CopvmaT §§ 100, 141
(1965).
     33 Morton Salt Co. v. G. S. Suppiger Co., 314 U.S. 488, 494 (1942).
     84220 U.S. 373 (1911).
     35The Miller-Tydings Act, 50 Stat. 693 (1937), 15 U.S.C. § 1 (1964) amended the
Sherman Act to validate nminium resale price maintenance contracts for goods sold in
interstate commerce if the state where the goods were sold had legalized such contracts
under so-called Fair-Trade laws.
     36 210 U.S. 339 (1908).
     37 Cf. Straus v. Victor Talking Mach. Co., 243 U.S. 490 (1917) and Bauer & Cie
v. O'Donnell, 229 U.S. 1 (1913), holding that the patent owner does not have the right
under statute to dictate the price at which a patented article will subsequently be sold
merely by fixing a notice on the patented article that it is not to be sold below a speci-
fied price.
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v. American Publishers Ass'n,38 the Court held that an agreement be-
tween an association of publishers and an association of booksellers
that their members would sell copyrighted books only to those who
maintained the stipulated retail price was m violation of the Sherman
Anti-Trust Act and was not sanctioned by any authority conferred
in the copyright act.39
    The only exception, other than state fair-trade laws,40 which allows
for the fixing of resale prices is the very limited doctrine of United
States v. GeneralElectric Co.,41 which holds that an owner of a patent
may grant a license to manufacture and vend, and as part of the
license agreement, fix the price at which the patented article may
be sold by the licensee. 42 This does not include the right to restrain
the licensees from selling to retailers, jobbers or others who do not
maintain resale prices.43
    In another category of cases involving trade restraint through
so-called tie-in contracts or tying clauses, the Court m Morton Salt
stated:
    But a patent affords no immunity for a monopoly not within the
    grant, Interstate Circuit v. United States, 306 U.S. 208, 228, 230;
    Ethyl Gasoline Corp. v. United States, 309 U.S. 436, 456, and the use
    of it to suppress competition in the sale of an unpatented article
    may deprive the patentee of the aid of a court of equity to restrain
    an alleged infringement by one who is a competitor. 44
    In Interstate Circuit, Inc. v. United States, 45 the Court held that
      38231 U.S. 222 (1913).
      39 Cf. Standard Sanitary Mfg. Co. v. United States, 226 U.S. 20 (1912), holding
that similar agreements, unlawful under the Sherman Act, are not protected under the
patent monopoly conferred by statute, and with regard thereto, stating: "Rights con-
ferred by patents are indeed very definite and extensive, but they do not give any more
than other rights a universal license against positive prohibitions. The Sherman law is
a limitation of rights, rights which may be pushed to evil consequences and therefore
restrained." Id. at 49.
      40 See note 33, supra.
      41272 U.S. 476 (1926). In United States v. Huck Mfg. Co., 86 Sup. Ct. 385 (1965),
affirming per curtain by an equally divided Court 227 F Supp. 791 (E.D. Mich. 1964),
the question presented to the Court was whether the General Electric doctrine should
now be overruled. The Court, by its affirmance, refused to answer that question in the
alffrmative.
      42
         But cf. United States v. Line Material Co., 333 U.S. 287 (1948), holding that
once patent owners combine their patents, through cross-licensing agreements or other-
wise, they may not issue licenses with price restrictions. The General Electric doctrine.
and its limitations are thoroughly discussed, d. at 299-305.
      4
        sEthyl Gasoline Corp. v. United States, 309 U.S. 436 (1940).
      44 314 U.S. at 491.
      45 306 U.S. 208 (1939).
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the copyright owner of motion pictures cannot, in order to oblige
a particular exhibitor, dictate to other licensee-exhibitors the admis-
sion price which shall be paid for an entertainment which includes
features other than the particular picture licensed, or dictate that
other pictures may not be shown with the licensed film.46 The cita-
tion of this case in Morton Salt, in support of the fact that a "patent
affords no immunity for a monopoly not within the grant" 47 indicates
that the same is true with respect to a copyright affording no in-
munity for a monopoly not within the copyright grant, and that a
court of equity will not restrain an alleged infringer when the copy-
right owner is using his copyright beyond the scope of his grant to
suppress competition.
     Since the decision in Morton Salt, the Supreme Court has handed
down two important opinions dealing with the illegitimate extension
of the copyright owner's monopoly in violation of the antitrust laws.48
Both of these cases give added weight to the use of the misuse doc-
trine to defeat a copyright infringement action, although both were
civil actions by the government under the Sherman Anti-Trust Act.
     In United States v. Paramount Pictures, Inc.,49 the Court held a
number of practices by motion picture producers, distributors and
exhibitors to be unlawful under the federal antitrust laws. In par-
ticular, the Court condemned the practice of block-booing, 0 stating:
    That enlargement of the monopoly of the copyright was condemned
    below in reliance on the principle which forbids the owner of a patent
    to condition its use on the purchase or use of patented or unpatented
    matenals. See Ethyl Gasoline Corporationv. United States, 309 U.S.
    436, 459; Morton Salt Co. v. Suppiger Co., 314 U.S. 488, 491, Mercozd
    Corp. v. Mid-Continent Investment Co., 320 U.S. 661, 665. The court
    enjoined defendants from performing or entering into any license in
    which the right to exhibit one feature is conditioned upon the li-
    censee's taking one or more other features.
        We approve that restriction. 51
     46 In addition, the Court in Interstate found an unlawful conspiracy among the dis-
tributors of motion pictures to restrain competition even though there was no simulta-
neous action or agreement on the part of the conspirators, stating: "Acceptance by com-
petitors, without previous agreement, of an invitation to participate in a plan, the
necessary consequence of which, if earned out, is restraint of interstate commerce, is
sufficient to establish an unlawful conspiracy under the Sherman Act." Id. at 227.
     47314 U.S. at 491.
     48
        United States v. Loew's Inc., 371 U.S. 38 (1962); United States v. Paramount
Pictures, Inc., 334 U.S. 131 (1948).
     49334 U.S. 131 (1948).
     50 "Block-booking is the practice of licensing, or offering for license, one feature or
group of features on condition that the exhibitor will also license another feature or group
of features released by the distributors during a given period." Id. at 156.
     51 Id. at 157.
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    In United States v. Loew's Inc., 52 the Court held the practice of
block-booking of copyrighted motion pictures for television exhibition
illegal and in violation of the Sherman Anti-Trust Act. The defendants
contended that the Paramount Pictures holding, that a refusal to
license one or more copyrights unless another copyright is accepted,
should not be applied to cases where motion pictures are being licensed
or sold to television stations, because the licensor or seller m the case
of television stations did not have sufficient economic power to force
the stations to accept unwanted motion pictures in order to obtain
certain wanted pictures.53 The defendants pointed out that feature
films constitute less than eight per cent of television programming.
Thus, defendants argued that their behavior should be judged by the
general principles which govern the validity of tying arrangements of
nonpatented products, rather than by the principle of the patent cases
that a tying agreement where the tying product is patented is per se
illegal.54
    The Court, however, held that the requisite economic power to
appreciably restrain free competition in the market for the tied product
is presumed when the tying product is copyrighted, the same as when
the tying product is patented. The Court stated in arriving at this
conclusion:
    This principle grew out of a long line of patent cases which had
    eventuated in the doctrine that a patentee who utilized tying arrange-
    ments would be demed all relief against infringement of his patent
          Morton Salt Co. v. G. S. Suppiger Co., 314 U.S. 488; Mercozd
    Corp. v. Mid-ContinentInvestment Co., 320 U.S. 661. 55

     52371 U.S. 38 (1962).
      53 Not all tie-rn contracts are illegal. The standard of illegality which governs tying
arrangements of nonpatented and noncopynghted products is that the seller must have
"sufficient econonue power with respect to the tying product to appreciably restrain free
competition in the market for the tied product." Northern Pac. Ry. Co. v. United States,
356 U.S. 1, 6 (1958).
      54
         Certain practices have been deemed by the courts to be unlawful under the
Sherman Antitrust Act in and of themselves, although the Act § 1, 26 Stat. 209 (1890),
15 U.S.C. § 1 (1964) prohibits: "every contract, combination              or conspiracy, in re-
straint of trade or commerce among the several States            " While the Court has con-
strued this provision as precluding only those contracts or combinations which "unreason-
ably" restrain competition, Chicago Board of Trade v. United States, 246 U.S. 231
(1918); Standard Oil Co. of New Jersey v. United States, 221 U.S. 1 (1911), it has
conclusively presumed certain types of agreements to unreasonably restrain competition
and has held these agreements to be per se illegal. United States v. Socony-Vacuum Oil
Co. Inc., 310 U.S. 150 (1940) (holding a combination formed for the purpose and with
the effect of raising, depressing, fixing, pegging or stabilizing the price of a commodity
in interstate or foreign commerce illegal per se).
     65 United States v. Loew's, Inc., 371 U.S. 38, 46 (1962).
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From tins, the Court reasoned:
   Since one of the objectives of the patent laws is to reward uniqueness,
   the principle of these cases was carried over into antitrust law on the
   theory that the existence of a valid patent on the tying product, with-
   out more, establishes a distinctiveness sufficient to conclude that any
   tying agreement involving the patented product would have anti-
   competitive consequences. E.g., International Salt Co. v. United
   States, 332 U.S. 392.56
    Finally, m arriving at the conclusion that any tying arrangement
involving a copyrighted product as the tying means would be a viola-
tion of the Sherman Anti-Trust Act, the Court quoted from Paramount
Pictures:
   It is said that reward to the author or artist serves to reduce release
   to the public of the products of his creative gemus. But the reward
   does not serve its public purpose if it is not related to the quality of
   the copyright. Where a high quality film greatly desired is licensed
   only if an inferior one is taken, the latter borrows quality from the
   former and strengthens its monopoly by drawing on the other. The
   practice tends to equalize rather than differentiate the reward for the
   individual copyrights. Even where all the films included in the pack-
   age are of equal quality, the requirement that all be taken if one is
   desired increases the market for some. Each stands not on its own
   footing but in whole or in part on the appeal which another film may
   have. As the District Court said, the result is to add to the monopoly
   of the copyright in violation of the principle of the patent cases in-
   volving tying clauses. 334 U.S., at 158.57
    It seems reasonable to conclude from the Loew's case that if a
copyright owner who uses his copyright to control other products is
in violation of the federal antitrust laws, as an outgrowth of the patent
misuse doctrine, then tins doctrine-that a patentee who utilized Ins
patent to control unpatented products would be denied all relief
against mfrmgement of his patent-includes within it the denial of all
relief against infringers when the copyright owner utilizes Ins copy-
right to gain economic control over other products.
    The interesting feature of the Loew's case is that the patent misuse
doctrine is the pillar upon which the Court found tie-in contracts with
copyrighted products to be per se illegal under the federal antitrust
laws. This would indicate that patent and copyright misuse are types
of conduct separate and apart from violations of the antitrust laws and
that the former does not necessarily include the latter.
    In early cases 8 following the Morton Salt decision, the Court
    56 Ibtd.
    57 Id. at 47.
    58Hartford-Empire Co. v. United States, 323 U.S. 386 (1944); Mercoad Corp. v.
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tended to indicate that patent misuse encompasses the whole of anti-
trust violations. In Hartford-Empire Co. v. United States, the Court
stated:
   The Government urges that such forfeiture is ]ustified by our recent
   decisions in Morton Salt Co. v. G. S. Suppiger Co., 314 U.S. 488, and
   B. B. Chemical Co. v. Ellis, 314 U.S. 495. But those cases merely apply
   the doctrine that, so long as the patent owner is using his patent in
   violation of the antitrust laws, he cannot restrain infringement of it
   by others. 59
     Recent cases of the Court have indicated that the doctrine of
Morton Salt is limited to tying arrangements. 60 In United States v.
Loew's Inc.,6 1 the Court seemed to pinpoint what the patent misuse
doctrine encompassed when it said, "This principle grew out of a long
line of patent cases which had eventuated in the [patent misuse] doc-
trine that a patentee who utilized tying arrangements would be denied
all relief against infringement of his patent."62
     However, other cases prior to Loew's but within the last dozen
years, have held that certain types of conduct other than tie-in con-
tracts constituted an unlawful expansion of the patent monopoly so as
to bar an infringement action.63 The question of what types of be-
havior, other than tie-in contracts, fall within the scope of the misuse
doctrine is very much in doubt at the present time.

      Antitrust Defenses to Civil Actions Not Involving
                        Infringement64
   At common law, contracts m.unreasonable restraint of trade were
deemed illegal and unenforceable.6 5 The resulting restraints did not
give rise to a civil action for damages, nor were they unlawful under
Minneapolis-Honeywell Regulator Co., 320 U.S. 680 (1944); Mercoid Corp. v. Mid-
Continent Inv. Co., 320 U.S. 661 (1944).
      59 Supra note 58, at 415.
      60 United States v. Loew's Inc., 371 U.S. 38 (1962); United States v. Paramount
Pictures, Inc., 334 U.S. 131 (1948).
      61371 U.S. 38 (1962).
      62 Id. at 46.
      63 United States Gypsum Co. v. National Gypsum Co., 352 U.S. 457 (1957) (hold-
ing that infringement relief would be barred if plaintiff is found to have engaged in price-
fixing pursuant to certain patent licenses). Precision Instrument Mfg. Co. v. Automotive
Maintenance Mach. Co., 324 U.S. 806 (1945) (holding that the failure to inform the
U.S. Patent Office of perjury committed by the opponent to an interference proceeding
barred infringement relief on the subsequently issued patent). Cf. Sears, Roebuck & Co.
v. Stiffel Co., 376 U.S. 225, 230 (1964).
      64 See generally Lockhart, Violation of the Anti-Trust Laws as a Defense n Civil
Actions,
     6
          31 Mum. L. BEv. 507 (1947).
       5 H DLmi, CAsES ox TRADE BRECuIION ch. 2 (3d ed. 1960).
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crimial law6 6 The contracts were merely not enforced by the courts.6 7
     The answer to the question of whether a purchaser could refuse to
pay for delivered goods on the ground that the supplier was a party
to a contract in restraint of trade depended upon whether the par-
ticular contract, in addition to restraining competition, was part of an
attempt to monopolize.68 If it was not part of an attempt to monopolize,
then the contract was considered ancillary to the restraint of trade, and
such contracts "for the sale of property or of business and good will, or
for the making of a partnership or a corporation" 69 were enforceable.
     Connolly v. Union Sewer Pipe Co. 70 was the first Supreme Court
decision on the question of whether the purchaser could refuse to pay
for delivered goods because the seller was a party to various agree-
ments with his competitors which were in restraint of trade under
common law doctrine and in violation of the Sherman Anti-Trust Act.
The plaintiff corporation had sold the defendant a quantity of Akron
pipe and had brought an action on two promissory notes given by the
defendant for the pipe. Defendant pleaded as a special defense that
plaintiff was part of a trust or combination of divers persons and
corporations, who, contrary to the common law, and among other
things, "have agreed to keep the prices of said articles of commerce at
certain fixed or graduated figures." 71 The Court rejected the defense
and cited the common law "ancillary" argument as the reason therefor:
    But we are aware of no decision to the effect that a sale similar to that
    made by the present plaintiff to the defendants respectively would in
    itself be illegal or void under the principles of the common law The
    contracts between the plaintiff and the respective defendants were,
   in every sense, collateral to the alleged agreement between the plain-
    tiff and other corporations, firms or associations 72whereby an illegal
   combination was formed for the sale of sewer pipe.
   The Court did not mention the common law exception that, if the
contract between plaintiff and defendant was part of an attempt to
monopolize, it would not be enforced, and it appears from a recital of
defendant's contentions that such an exception was not urged.
   With regard to the defendant's contention that the contract was
    66 Ibid.
    67 Ibtd.
    68
       United States v. Addyston Pipe & Steel Co., 85 Fed. 271 (6th Cir. 1898), affd,
175 U.S.
    69
         211 (1899).
       United States v. Addyston Pipe & Steel Co., 85 Fed. 271, 291 (6th Cir. 1898).
    70 184 U.S. 540 (1902).
    71 Id. at 542.
    72 Id. at 549.
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void because the plamitiff was in a combination illegal under the Sher-
man Anti-Trust Act, the Court adopted the same rationale expressed
in denying the defense based on the common law, stating, "There is
no necessary legal connection here between the sale of pipe to the
defendants by the plaintiff corporation and the alleged arrangement
made by it with other corporations, companies and firms." " The Court
apparently did not recognize that the price of the goods in the contract
between plaintiff and defendant was fixed by the members of the
"combination."
    Seven years later, in Continental Wall Paper Co. v. Vozght & Sons
Co.,7 4 the Court was again called upon to decide whether the defense
of antitrust violations should be allowed in an action to recover money
on a contract. The defendant jobber had previously signed a contract
which bound hn to buy all of his wallpaper from plaintiff and not to
sell at prices lower than those stipulated. If the defendant had not
signed the contract he would not have been able to continue in the
wallpaper business. In a five to four decision the Court upheld the
antitrust defense against plaintiff's action to recover $56,762.10 on an
account for merchandise sold and delivered to the defendant. The
Court said that Connolly was plainly distinguishable, stating that the
contract in Connolly.
   was to take certain goods at an agreed price, nothing more, and was
   not m itself illegal, nor part of nor in execution of any general plan or
   scheme that the law condemned. The contract of purchase was wholly
   collateral to and independent of the agreement under which75
                                                                  the com-
   bmation had been previously formed by others m Oio.
But, as to the contract before the Court in Continental Wall Paper the
Court stated:
  The case now before us is an entirely different one. The Continental
  Wall Paper Company seeks, in legal effect, the aid of the court to
  enforce a contract for the sale and purchase of goods which, it is
  admitted by the demurrerwas in fact and was intended by the parties
  to be based upon agreements that were and are essential parts of an
  illegal scheme        It is admitted by the demurrer to that defense
  that the account sued on has been made up in execution of the agree-
  ments that constituted or out of which came the illegal combination
  formed for the purpose and with effect of both restraining76
                                                                   and
  monopolizmg trade and commerce among the several States.
    731d.    at 551.
    74212    U.S. 227 (1909).
    7 Id.    at 260.
    76   Id. at 261.
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    It thus appears that the added element of the-contract being a part
of a scheme to create an illegal monopoly may have brought the wall-
paper contract across the gray river from being ancillary to being part
of the illegal scheme. The Court, however, did not make any mention
of the common law exception that if the contract was an attempt to
monopolize then it could not be enforced, although the respondent
had urged that contracts which are a material step in creating a
                              77
monopoly not be enforced.
    To Justice Holmes, this distinction of contracts being ancillary to an
illegal combination or part of the illegal scheme was one without a
difference. In his dissent, he stated that "the policy of not furthering
the purposes of the trust is less important than the policy of preventing
people from getting other       people's property for nothing when they
                         '7 8
purport to be buying it.
    Justice Brewer also dissented, but felt that the defense should not
be allowed on the ground that the case came "within the proposition
that 'where a statute creates a new offense and denounces the penalty,
or gives a new right and declares the remedy, the punishment or the
                                                          7
remedy can be only that which the statute prescribes."'
    Six years later, in D R. Wilder Mfg Co. v. Corn Prod. Ref Co., 0
the Court was again called upon to determine whether a contract for
the purchase of goods was inherently illegal, as in Continental Wall
Paper,or was ancillary to the illegality, as in Connolly. The defendant
alleged that under his contract of purchase he was coerced into buying
all his glucose from plaintiff and that this coercion of hun and other
users of glucose resulted in driving out of business many glucose
suppliers. While it is difficult to understand how this type of contract
with its natural tendency toward causing monopolization was any dif-
ferent from the contract in Continental Wall Paper, the Court held
that it was not inherently illegal and therefore did not come within the
holding of ContinentalWall Paper But the real basis of the decision
was the reason advanced by Justice Brewer in his dissent in Continental
Wall Paper,that the remedies afforded by the Sherman Anti-Trust Act
are exclusive and nullification of a purchase of goods is not one of them.
    For all intents and purposes, Wilder Mfg. Co. signaled the end of
the distinction between contracts that are inherently a part of a scheme
to restrain trade and those which are only ancillary to the scheme,
    77   Id. at 232.
    78 Id. at 270-71.
    79 Id. at 273.
    80236 U.S. 165 (1915).
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although the final burial did not occur until 1959.81 Several decisions
subsequent to Wilder Mfg. Co. relied mainly on the exclusion of
remedies rationale for the denial of the antitrust defense.8 2
    In Bruce's Juices, Inc. v. American Can Co.,8" the first case after the
decision in Morton Salt to consider the antitrust defense to a civil
action not involving an infringement of a patent, trademark, or copy-
right, the Court in a five to four decision rejected the antitrust defense
to an action on renewal notes representing the balance on a continuing
account for goods sold. The petitioner claimed that the notes were
illegal because the respondent Can Company had sold to others at
prices which discriminated    against Bruce and was thereby violating the
                  8      4
Robmson-Patman Act.
    The basis of the Court's decision was that the Act made no provi-
sion for the defense (exclusion of remedies theory) and, unless the
contract is intrinsically illegal, the purchaser has the duty to pay for
goods he has purchased. The dissent felt that while petitioner should
not be allowed to get his goods for nothing, he should be allowed
to prove as a set-off, notwithstanding that the suit was a state ac-
tion,85 that the notes aggregating 114,000 dollars represented the
illegal differential of the more than two million dollars it had paid
respondent during the period of 1937 to 1942. The opinion of the Court
made no mention of Morton Salt, while the dissent cited Morton Salt
in answer to the Court's reliance on the exclusion of remedies theory,
stating, "Similarly, without specific statutory permission, private liti-
gants have been allowed to irvoke the policy of the antitrust laws so
as to limit the scope of patent rights."88
    The latest case presenting this question to the Court is Kelly v.
Kosuga.8 7 Here petitioner and other growers of omons entered into an
agreement to purchase 287 carloads of omons from respondent if re-
spondent refrained from delivering any omons on the futures market
for the remainder of the trading season, the purpose being to create a
false market condition and thereby raise the trading price of omons.
    As a defense to respondent's action for the unpaid purchase price
    81
       Kelly v. Kosuga, 358 U.S. 516 (1959).
    82 A. B. Small Co. v. Lamborn & Co., 267 U.S. 248 (1925); Geddes v. Anaconda
Mining Co., 254 U.S. 590 (1921).
     83 330 U.S. 743 (1947).
     8449 Stat. 1526, 1528 (1936), 15 U.S.C. 13, 13a (1964).                      1
     85 If the case had been brought m federal court, then the defendant could have,
pursuant to FED. B. Crv. P. 13, pleaded as a counterclam the damages resulting from
the antitrust violation.
     80330 U.S. at 761 (citing, nter alia, Morton Salt and Mercotd).
     87358 U.S. 516 (1959).
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of the onions, petitioner asserted that the contract was intrinsically
illegal and came within the holding of Continental Wall Paper The
Court, deciding that it was finally time to put an end to this battered
and dying horse, stated:
   The distinction asserted [between contracts inherently illegal and
   those ancillary to the illegality] is, to say the least, on its face para-
   doxical       If the defense of illegality is to be allowed as a collateral
   method of enforcement of the antitrust laws, as the breadth of the
   petitioner's argument suggests, it must be said that     his theory creates
   a very strange class of private attorneys general. 88
    The Court rested its denial of the defense on two grounds: (1) "the
overriding general policy, as Mr. Justice Holmes put it, 'of preventing
people from getting other people's property for nothing when they
purport to be buying it."' 8 9 and (2) the reluctance of the federal courts
to create a policy of nonenforcement of contracts where state law
governs the rights and duties of sellers and purchasers of goods. The
latter ground was no doubt intended to distinguish such a case from
Morton Salt where the rights under a patent are governed by federal
law
    The Kelly case was decided by a seven-to-two majority and, in
spite of the fact that it did not explicitly overrule Continental Wall
Paper, indicates that except m the most aggravated of circumstances,
the defense of antitrust violations to a civil action not involving a
paramount federal right should not be allowed. Thus, it seems clear
that the antitrust defense to actions which do not involve paramount
federal rights is not to be confused with actions which do involve such
rights, r.e., actions for patent, copyright or trademark infringement.

          Misuse and Antitrust Defenses to Copyright
                    Infringement Actions
   While the United States Supreme Court has not explicitly held
that the misuse doctrine enunciated in Morton Salt is applicable to a
copyright infringement action, the lower federal courts have on the
whole held that it is not applicable.90 No federal courts have, however,
    88 Id. at 519-20.
    89 Id. at 520-21.
    90 The following cases subsequent to Morton Salt have held that the defense of
antitrust violations or "misuse" is not applicable to a copyright infringement action:
Peter Pan Fabrics, Inc. v. Candy Frocks, Inc., 187 F Supp. 334 (S.D.N.Y. 1960)
(dictum); Harms, Inc. v. Sansom House Enterprises, Inc., 162 F Supp. 129 (E.D. Pa.
1958), aFd sub nom. Leo Feist, Inc. v. Lew Tandler Tavern, Inc., 267 F.2d 494 (3d
Cir. 1959); Alfred Bell & Co. v. Catalda Fine Arts, 74 F Supp. 973 (S.D.N.Y. 1947),
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held that a violation of the federal antitrust laws will, in and of itself,
bar a copyright mfrmgement action. 1
    The leading case which allowed the defense of "misuse" to a copy-
right infringement action is M. Witmark & Sons v. Jensen.9 2 In this
case the District Court was requested by the plaintiffs, members of the
American Society of Composers, Authors and Publishers (better known
as ASCAP) to enjoin defendants, who operated motion picture thea-
tres, from showing certain films in their theatres without first obtaining
from plaintiffs a license to perform publicly the musical compositions
which accompanied the showing of the films. Defendants contended
that the plaintiffs should be barred from obtaining the relief they
sought because they had illegally extended the scope of their copy-
rights and their method of doing business was in violation of the
Sherman Anti-Trust Act.
    The American Society of Composers, Authors and Publishers (here-
mafter referred to as ASCAP) is a nonprofit performng rights society
made up entirely of composers, authors and publishers.93 The members
of ASCAP grant to the Society their nondramatic performing rights
on a non-exclusive basis, and the Society in turn licenses various users
of music the right to perform all the copyrighted music in its repertory
These users of music, which include radio and television stations,
restaurants, taverns, dance halls, hotels, factories and department
stores, have the option of dealing directly with the individual copyright
owner or with the Society Prior to the Jensen suit, the Society had
been the subject of a civil antitrust action filed by the Justice Depart-
ment on February 25, 1941, and terminating in a consent decree on
March 4, 1941. At the time of the Jensen suit, eighty per cent of the
music integrated in sound films was copyrighted and owned by mem-
bers of ASCAP, and the licensing was exclusively controlled by
ASCAP
aff'd, 191 F.2d 99 (2d Cir. 1951). In the following cases the courts did not explicitly
hold that the defense of misuse of copyright was not applicable as a matter of law but
held that the defendants had failed to establish it: United Artists Associated, Inc. v.
NWL Corp., 198 F Supp. 953 (S.D.N.Y. 1961); Greenbie v. Noble, 151 F Supp. 45
(S.D.N.Y. 1957); Columbia Pictures Corp. v. Coomer, 99 F Supp. 481 (E.D. Ky. 1951).
The only case in which the misuse defense has been successful in defeating a copyright
infringement action is M. Witmark &-Sons v. Jensen, 80 F Supp. 843 (D. Minn. 1948).
      91 But see Nnmimx, CopymcuT § 149.1, at 663 n.265 (1965) (citing M. Witmark
& Sons v. Jensen, 80 F Supp. 843 (D. Minn. 1948) as indicating that a copyright owner
will be denied relief in an infringement action if he is in violation of the antitrust laws).
See text accompanying note 98 infra.
      9280 F Supp. 843 (D. Minn. 1948).
      93 See generally Finkelstein, Public Performance Rights in Muszc and Performance
Rights Societies, in SEVEN CoPYcit PoBLEms   o        A.4NA.YzED 69 (1952).
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     Prior to the Jensen decision, ASCAP had been sued by 164 motion
picture theatre owners for treble damages and injunctive relief under
the federal antitrust laws.94 In this case, Judge Leibell found:
   Almost every part of the Ascap structure, almost all of Ascap's ac-
    tivities In licensing motion picture theatres, involve a violation of the
    anti-trust laws. Although each member of Ascap is granted by the
    copyright law a monopoly in the copyrighted work, it is unlawful for
    the owners of a number of copyrighted works to combine their copy-
    rights by any agreement or arrangement, even if it is for the purpose
    of thereby better preserving their property rights          The result of
    such a combination "is to add to the monopoly of the copyright in
    violation of the principle of the patent cases involving tying clauses." 5
     In a follow-on decision by Judge Leibell,96 the court prohibited
ASCAP from excepting the performing rights (i.e., the playing m the
theatre of the musical composition which is recorded on the film's
sound track) from the license it grants to the motion picture producer
to record the music on the sound track (known as the synchronization
rights) Thus, in effect, Judge Leibell's decree forced ASCAP to license
both the synchronization and performing rights to the motion picture
producer. As justification for the elimination of a right granted to the
copyright owner by the Copyright Act-the right to perform a com-
position publicly for profit and the right to record it are separate and
independent rights under the Copyright Act"---Judge Leibell relied
on the patent misuse cases, stating:
    An illegal combination of copyrights and a pooling of the proceeds
    denved from the licensing of the copyrights through the illegal com-
    bination, renders unenforceable the rights granted under the Copy-
    right Act, at least while the illegal combmation continues.98
     In the Jensen case, the court cited Judge Leibell's findings and held
that a number of practices by ASCAP amounted to an extension of the
copyright grant and, therefore, denied the relief sought by ASCAP for
infringement of its copyright. With regard to whether antitrust viola-
tions alone would defeat the action, the court stated: "In view of the
Court's finding that the copyright monopoly has been extended, it is
    9
      4 Alden-Rochelle, Inc. v. American Soc. of Composers, Authors and Publishers, 80
F Supp. 888 (S.D.N.Y. 1948).
    95 Id. at 893 (citing United States v. Paramount Pictures, Inc., 334 U.S. 131 (1948)).
    96 Alden-Rochelle, Inc. v. American Soc. of Composers, Authors and Publishers, 80
F Supp. 900 (S.D.N.Y. 1948).
    97 Interstate Hotel Co. v. Remick Music Corp., 157 F.2d 744 (8th Cir. 1946).
    9
      8 Alden-Rochelle, Inc. v. American Soc. of Composers, Authors and Publishers, 80
F Supp. 900, 904 (S.D.N.Y. 1948) [citing Morton Salt, Line Material,InterstateCircuit,
and ParamountPictures].
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not necessary to determine whether anti-trust violations alone would
deprive plaintiffs of the right of recovery." 99
    The particular misuse winch the court found to be an illegitimate
extension of the copyright monopoly was the placing with the Society
of performance rights for motion pictures, wich gave each copyright
owner a potential economic advantage far exceeding that enjoyed by
an individual copyright owner. The court stated:
    However free plaintiffs and their associates in Ascap may have been
    from any design or intent to extend their copyright monopoly, or
    however beneficial it may be for them to carry on their business m
    this manner, or however inconveient it may be for them to function
    otherwise, such facts and circumstances will not permit them to en-
    large their lawful monopoly 1oo
     Since the Jensen case there have been a number of amendments to
the 1941 consent decree between the Society and the Department of
Justice winch have gone a long way toward making the copyrights of
ASCAP's members as competitive as possible without ordering the
Society dissolved.1oi
     In Alfred Bell & Co. v. Catalda Fine Arts, Inc.,02 an action for
minngement of copyrights covering mezzotint engravings, the de-
fendant alleged that plaintiff and other members of the Fine Arts
Guild had entered into certain agreements to restrict the number of
mezzotint engravings produced and to maintain minimum sale prices.
The defendant contended that, inasmuch as these agreements con-
stituted violations of the Sherman Anti-Trust Act and a misuse of the
copyright, the court should as a matter of equity deny plaintiff the
relief sought. The court held as a matter of law that the defense was
msufficient. In reaching this conclusion, the court found that the
Bruce's Juices case limited Morton Salts application solely to cases of
patent infrmgement.
     On appeal,1S the court upheld the lower court's demal of the
misuse defense, although it did not reach this conclusion as a matter of
law. Instead, the court balanced the policy of preventing piracy of
copyrighted matter against the policy of enforcing the antitrust laws,
and stated, "As the defendants' piracy is unmistakably clear, while the
plaintiffs' infraction of the antitrust laws is doubtful and at most
    99 M. Witmark & Sons v. Jensen, 80 F Supp. 843, 850 (D. Minn. 1948).
    10o Id. at 848.
    1o See Shu1l, Collecting Collectively: ASCAP's Perenntal Dilemma, m ASCAP
CopvymcuT LAw SymIosium SE EN 35 (1956).
    10274 F Supp. 973 (S.D.N.Y. 1947), aff'd, 191 F.2d 99 (2d Cir. 1951).
    103 Alfred Bell & Co. v. Catalda Fine Arts, Inc., 191 F.2d 99 (2d Cir. 1951).
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marginal, we think the enforcement of the first policy should outweigh
enforcement of the second." 04 However, the Court of Appeals did feel
that the unclean hands doctrine (of Morton Salt) had been somewhat
narrowed by later Court decisions, citing Bruce's Juices among others.
    Subsequent to the Court of Appeals' decision m Alfred Bell, the
District Court in Peter Pan Fabrics,Inc. v. Candy Frocks, Inc.10 5 held
that violation of the antitrust laws would not be a defense to a copy-
right infringement action, citing Alfred Bell, Bruce's Juices, and other
cases.
    In United Artists Associated, Inc. v. NWL Corp.,0 6 an action for
copyright mfrmgement, the plaintiff moved to strike the defendant's
defense of copyright misuse. The court deied the motion on the
ground that a definitive adjudication on this question should only be
made after a plenary hearing. The court, however, did state: "As a
general rule, it is not a defense to a copyright infringement action to
allege that plaintiff is violating the antitrust statutes by a combination
or conspiracy in restraint of trade." 0 7 With regard to the misuse of
copyright defense, the court, citing Alfred Bell, stated that issue would
have to await a determination of the effect of plaintiff's alleged misuse
of copyright on its action for infringement.
    From the foregoing, it is evident that the lower federal courts are
very much in doubt as to the applicability of the misuse doctrine
enunciated in Morton Salt to copyright infringement actions. Almost
all the lower courts are in agreement that antitrust violations, by them-
selves, are no defense to a copyright infringement action, and the
defense, if any, rests on a concept of copyright misuse. However, the
defense of copyright misuse has been given narrow scope by a few
 courts which regard it as only a factor to be considered in relation to
the degree of culpability of defendant's infringement. Other courts
have disallowed it altogether, relying on the cases which deny the
antitrust defense to actions not involving paramount federal rights,
such as actions on a contract or notes.

                             Conclusion
    The Morton Salt case established a new standard of conduct for the
individual who has been given the special privilege of a patent mo-
nopoly He must use his patent in a manner consistent with the privi-
    104 Id. at 106.
    105 187 F Supp. 334 (S.D.N.Y. 1960)    (dictum).
    106 198 F Supp. 953 (S.D.N.Y. 1961).
    107 Id.   at 957
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lege, and, if he does not, he will find that the privilege will be withheld
until he has purged himself of the misuse. The conduct attendant on
tins privilege should not be confused with the conduct required of
those who are parties to contracts, notes and other forms which are
given legal effect, but which do not rise to the height of the special
privilege of a monopoly granted by the United States.
     All the considerations which the Court in Morton Salt felt ]ustified
the denial of relief against patent infringement are applicable In the
case of the copyright grant. The public policy which includes writings
within the granted monopoly excludes from it all that is not embraced
in the writing. It equally forbids the use of the copyright to secure an
exclusive right or limited monopoly not granted by the Patent Office
and the granting of which is contrary to public policy Finally, in copy-
right infringement suits there is an adverse effect upon the public in-
terest of a successful infringement suit in connection with an expansion
of the copyright beyond its legitimate scope.                            08
     As stated by Chief Justice Hughes in Fox Film Corp. v. Doyal,1
"The sole interest of the United States and the primary object in con-
ferring the monopoly lie in the general benefits derived by the public
from the labors of authors." Surely the public does not receive its
benefits when the copyright owner extends the monopoly granted to
hun by the United States and thereby violates the public policy of this
country as set forth in our antitrust laws. In such an instance, it is only
fitting that courts of equity not lend themselves to protecting the
copyright owner's monopoly until the misuse has been purged.
     Finally, the types of copyright misuse which would defeat an
infringement action should not rest on any fixed formula. The misuse
doctrine is peculiarly a question of patent and copyright law involving
an unlawful extension of the monopoly grant, and it would not be in
consonance with the theory of this doctrine to hold that any and all
violations of the federal antitrust laws constitute a misuse of the patent
or copyright grant. Rather, each type of conduct should be separately
examined to determine whether the public policy underlying the
patent or copyright grant is being subverted.
     Naturally, tying clauses using the patent or copyright as the eco-
nomic lever to control other products is a subversion of that policy
which gives the patent or copyright owner a special monopoly privi-
lege. It would also seem to be a subversion of this policy where the
patent or copyright is used, outside the General Electric doctrine, to
maintain resale prices or to fix prices among competitors.
    108 286 U.S. 123, 127 (1932).
  Case 2:17-cv-01731-TSZ Document 39-2 Filed 06/18/18 Page 24 of 24
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    At the present time, except for tie-in contracts, the misuse doctrine
is rn an amorphous state. The doctrine, however, should not be re-
stricted merely to tie-in arrangements, but should encompass all
potential types of conduct which would not be within the privilege of
the patent or copyright grant and which would be in violation of the
public policy supporting that special grant.
